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          IN THE UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON, VIKKI
TOWNSEND CONSIGLIO, GLORIA KAY
GODWIN, JAMES KENNETH CARROLL,                              CASE NO.
CAROLYN HALL FISHER, CATHLEEN
ALSTON LATHAM and BRIAN JAY VAN                             1:20-cv-4809-TCB
GUNDY,
Plaintiffs,
v.
BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official capacity as
Secretary of State and Chair of the Georgia
State Election Board, DAVID J. WORLEY, in his
official capacity as a member of the Georgia
State Election Board, REBECCA N.SULLIVAN,
in her official capacity as a member of the
Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
member of the Georgia State Election Board,
and ANH LE, in her official capacity as a
member of the Georgia State Election Board,

Defendants.


      NOTICE OF EMERGENCY INTERLOCUTORY APPEAL AS OF RIGHT

      Plaintiffs Coreco Ja’Qan Pearson, et al., hereby file an emergency

appeal to the United States Court of Appeals for the Eleventh Circuit from

this Court’s interlocutory order of November 29, 2020 (Doc.14) to the extent it

denies the full relief Plaintiffs requested in their motion for a temporary

restraining order. See Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223,

1225 (11th Cir. 2005) (“Although we ordinarily do not have jurisdiction over
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appeals from orders granting or denying temporary restraining orders, in

circumstances such as these, ‘when a grant or denial of a TRO might have a

serious, perhaps irreparable, consequence, and can be effectively challenged

only by immediate appeal, we may exercise appellate jurisdiction.” (quoting

Ingram v. Ault, 50 F.3d 898, 900 (11th Cir. 1995)).1

      Plaintiffs respectfully ask that this Court immediately transmit this

notice of appeal to the Eleventh Circuit today so that that court may docket

the matter, thus enabling Plaintiffs to file a motion for an expedited briefing

schedule pursuant to which Plaintiffs propose to file their brief by midnight

December 2, 2020, and Appellee’s brief by December 4, 2020.

      Moreover, this Notice of Appeal as of right should divest the district

court of jurisdiction. If not, Plaintiffs would request a stay of the hearing

currently scheduled in the district court for December 4, 2020, until this

Court has ruled on the questions raised by the appeal, including whether

Plaintiffs must add to the suit each of the 600-plus county election officials in


1 While this Court, pursuant to 42 U.S.C. §1292(b), has certified its order as
involving a “controlling question of law as to which there is a substantial
ground for difference of opinion and that an immediate appeal from the order
may materially advance the ultimate termination of the litigation,” (Doc.15),
Plaintiffs would seek permission to appeal under §1292(b) only in the
alternative, if the Eleventh Circuit deems that necessary. Plaintiffs file this
notice, however, as a matter of right, pursuant to Schiavo. (“In these
circumstances we treat temporary restraining orders as equivalent to
preliminary injunctions or final judgments, either of which are appealable.”)
Schiavo, 403 F.3d at 1225 (citing 28 U.S.C. §§1291, 1292(a)(1).
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addition to the Secretary of State for Georgia, who by law is responsible for

Georgia elections and spent $107 million taxpayer dollars to purchase

Dominion voting systems for the entire state.

/s Sidney Powell*
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Attorneys for Plaintiffs



      The undersigned certifies that the foregoing document was prepared in

13-point Century Schoolbook font and in accordance with the margin and

other requirements of Local Rule 5.1.



                                   s/ Harry W. MacDougald
                                   Harry W. MacDougald
                                   Georgia Bar No. 463076
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                     CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing NOTICE

OF EMERGENCY INTERLOCUTORY APPEAL AS OF RIGHT with             the Clerk of

Court using the CM/ECF system which will cause service to made upon

counsel of record therein.

      This 1st day of December 2020.

                                   s/ Harry W. MacDougald
                                   Harry W. MacDougald
                                   Georgia Bar No. 463076

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